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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 1:10-CR-221-BLW

                      Plaintiff,
                                                  ORDER CONTINUING TRIAL
         v.                                       AND TRIAL READINESS
                                                  CONFERENCE
 JOSE CARDONA-RAMIREZ, et al.,

                      Defendants.



       The Court has before it Defendant Jose Cardona-Ramirez’s Motion to Continue

Trial (Dkt. 39). Defendant Victoria Villa-Gonzalez joins in the motion. The Government

does not oppose the motion. Defendant states that counsel needs additional time to

review discovery. Moreover, this is a multi-defendant case, and two co-defendants were

recently arraigned. Their cases were set for trial on May 16, 2011. The defendants seek

to continue their trial date to May 16, 2011.

       Under all these circumstances, the Court finds that a continuance is needed to give

defense counsel an opportunity to provide an effective defense. Thus, a continuance is

warranted under 18 U.S.C. § 3161(h)(7)(B)(iv), which authorizes a finding of excludable

time when the refusal to grant a continuance would “deny counsel for the defendant . . .

the reasonable time necessary for effective preparation . . . .” Under these circumstances,

the interests of justice in allowing the defense time for effective preparation outweighs


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the defendant’s and the public’s interest in a speedy trial under 18 U.S.C. §

3161(h)(7)(A). The statements of defense counsel establish that the trial should be reset

on May 16, 2011 at 1:30 p.m. at the United States Courthouse in Boise, Idaho. The Court

finds that the period of time between the present trial date and the new trial date is

excludable time under the Speedy Trial Act.

       Moreover, under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6), excludable time

exists for “a reasonable period of delay when the defendant is joined for trial with a co-

defendant as to whom the time for trial has not run and no motion for severance has been

granted.” No motion for severance has been filed. Accordingly, pursuant to 18 U.S.C. §

3161(h)(6), the Court finds that the cases should be tried together on May 16, 2011, and

excludable time is found for the time between the current trial date and the new trial date

for the defendants moving for a continuance. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Motion to Continue

Trial (Dkt. 39) shall be, and the same is hereby GRANTED, and that the present trial date

be VACATED, and that a new trial be set for May 16, 2011 at 1:30 p.m. in the U.S.

Courthouse in Boise, Idaho.

       IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6) and (7)(A) & (B).

       IT IS FURTHER ORDERED that the current trial readiness conference be

VACATED, and that a new trial readiness conference be conducted by telephone on May

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5, 2011 at 4:00 p.m. The Government shall place the call to (208) 334-9145 with

opposing counsel on the line.

       IT IS FURTHER ORDERED that all pretrial motions shall be filed on or before

April 18, 2011.




                                        DATED: March 31, 2011




                                        B. LYNN WINMILL
                                        Chief U.S. District Court Judge




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